    4:11-cb-03002-CRZ         Doc # 21       Filed: 08/04/11     Page 1 of 1 - Page ID # 39



                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA                         2011 AUG -t. AM 9: 05
UNITED STATES OF AMERICA,                     )                                 OfF ICE Qf flit GLEat\
                                              )      4:11CB3002
                      Plaintiff,              )      Violation No. W0902908
                                              )      Violation No. W0902909
               v.                             )
                                              )      MOTION AND ORDER TO
CHARLIE D. EMFINGER and                       )      CONTINUE
DIANA EMFINGER,                               )
                                              )
                      Defendants.             )

       The parties have previously agreed that each defendant will pay $3000 to Nebraska Game

and Parks as part of the settlement of this case, together with a $500 fine. The defendant's

counsel has informed the undersigned that the defendant's have paid $2,000 of the resttution, but

need time to make the remaining payments to Nebraska Game and Parks. Accordingly, the

government moves this Court to continue the initial appearances to October 6, 2011.

                                                     UNITED STATES OF AMERICA

                                                     By:     DEBORAH R. GILG
                                                             United States Attorney, D.NE


                                                     And:      sf Steven A. Russell
                                                             STEVEN A. RUSSELL #16925
                                                             Assistant U. S. Attorney
                                                             487 Federal Building
                                                             100 Centennial Mall North
                                                             Lincoln, Nebraska 68508
                                                             Telephone: (402) 437-5241

                                    ,,/fit
       IT IS SO ORDERED this ::t.= day of August, 2~11. he initial appearance is continued
to October 6,2011, at 8:30 a.m.                                ;7'                    ,
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